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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          Criminal No.:

               v.                                  Violation: 18 U.S.C. § 1001 (False
                                                   Statements)
 MICHAEL T. FLYNN,

                                 Defendant.




                              STATEMENT OF THE OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America and the

defendant, MICHAEL T. FLYNN, stipulate and agree that the following facts are true and

accurate. These facts do not constitute all of the facts known to the parties concerning the

charged offense; they are being submitted to demonstrate that sufficient facts exist that the

defendant committed the offense to which he is pleading guilty.

       1.      The defendant, MICHAEL T. FLYNN, who served as a surrogate and national

security advisor for the presidential campaign of Donald J. Trump (“Campaign”), as a senior

member of President-Elect Trump’s Transition Team (“Presidential Transition Team”), and as

the National Security Advisor (“NSA”) to President Trump, made materially false statements

and omissions during an interview with the Federal Bureau of Investigation (“FBI”) that took

place on January 24, 2017, in Washington, D.C., which is located in the District of Columbia, on

January 24, 2017. At the time of the interview, the FBI had an open investigation into the

Government of Russia’s (”Russia”) efforts to interfere in the 2016 presidential election,

including the nature of any links between individuals associated with the Campaign and Russia,

and whether there was any coordination between the Campaign and Russia’s efforts. The FBI

opened and coordinated the investigation in Washington, D.C.
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       2.      FLYNN’s false statements and omissions impeded and otherwise had a material

impact on the FBI’s ongoing investigation into the existence of any links or coordination

between individuals associated with the Campaign and Russia’s efforts to interfere with the 2016

presidential election.

       False Statements Regarding FLYNN’s Request to the Russian Ambassador that Russia
       Not Escalate the Situation in Response to U.S. Sanctions against Russia

       3.      On or about January 24, 2017, FLYNN agreed to be interviewed by agents from

the FBI (“January 24 voluntary interview”). During the course of the interview, FLYNN falsely

stated that he did not ask Russia’s Ambassador to the United States (“Russian Ambassador”) to

refrain from escalatinge the situation with the United States in response to sanctions that the

United States had imposed against Russia. FLYNN also falsely stated that he did not remember

a follow-up conversation with the Russian Ambassador wherein in which the Russian

Ambassador stated that Russia had chosen to moderate its response to those sanctions as a result

of FLYNN’s request. In truth and in fact, however, FLYNN then and there knew that the

following had occurred:

               a.        On or about December 28, 2016, then-President Barack Obama signed

                         Executive Order 13757, which was to take effect the following day. The

                         executive order announced sanctions against Russia in response to that

                         government’s actions intended to interfere with the 2016 presidential

                         election (“U.S. Sanctions”).

               b.        On or about December 28, 2016, the Russian Ambassador contacted

                         FLYNN.

               c.        On or about December 29, 2016, FLYNN called a senior official of the

                         incoming National Security CouncilPresidential Transition Team

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     (“incoming NSCPTT official”), who was with other senior members of the

     Presidential Transition Team at the Mar-a-Lago resort in West Palm

     Beach, Florida, to seek guidance ondiscuss what, if anything, to

     communicate to the Russian Ambassador about the U.S. Sanctions. On

     that call, FLYNN and the incoming NSCPTT official discussed the U.S.

     Sanctions, including the potential impact of those sanctions on the

     incoming administration’s foreign policy goals. The incoming NSCPTT

     official and FLYNN also discussed that the members of the Presidential

     Transition Team at Mar-a-Lago did not want Russia to escalate the

     situation.

d.   Immediately after his phone call with the incoming NSCPTT official,

     FLYNN called the Russian Ambassador and requested that Russia not

     escalate the situation and only respond to the U.S. Sanctions in a

     reciprocal manner.

e.   On or about December 29, 2016,Shortly after his phone call with the

     Russian Ambassador, FLYNN spoke with the incoming NSCPTT official

     to report on the substance of his call with the Russian Ambassador,

     including their discussion of the U.S. Sanctions.

f.   On or about December 30, 2016, Russian President Vladimir Putin

     released a statement indicating that Russia would not take retaliatory

     measures in response to the U.S. Sanctions at that time.




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               g.      On or about December 31, 2016, the Russian Ambassador called FLYNN

                       and to informed him that Russia had chosen not to escalate the

                       situationretaliate in response to FLYNN’s request.

               h.      After his phone call with the Russian Ambassador, FLYNN spoke with

                       senior members of the Presidential Transition Team about Russia’s

                       decision not to escalate the situation in response to FLYNN’s request.

       False Statements Regarding FLYNN’s Request that Foreign Officials Vote Against or
       Delay a United Nations Security Council Resolution

       4.      During the January 24 voluntary interview, FLYNN falsely stated that he

calledmade additional false statements about calls he made to Russia and several other countries

in order to get a sense of where they stood with respect to a vote onregarding a resolution

submitted by Egypt to the United Nations Security Council on December 21, 2016, by Egypt.

Specifically FLYNN also falsely stated that he only asked what the countries’ positions were

with respect toon the vote, and that he did not request that any of the countries take any

particular action with regard toon the resolution. FLYNN also falsely stated that the Russian

Ambassador never described to him Russia’s response to the request FLYNN’s request made

regarding the resolution. In truth and in fact, however, FLYNN then and there knew that the

following had occurred:

               a.      On or about December 21, 2016, Egypt submitted a resolution to the

                       United Nations Security Council on the issue of Israeli settlements

                       (“resolution”). The United Nations Security Council was scheduled to

                       vote on the resolution the following day.

               b.      On or about December 22, 2016, a very senior official member from the

                       Presidential Transition Team directed FLYNN to contact officials from


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                       foreign governments, including Russia, to learn where each government

                       stood on the resolution and to influence those governments’ positions in

                       the tohopes of delaying the vote or defeating the resolution.

               c.      On or about December 22, 2016, FLYNN contacted the Russian

                       Ambassador about the pending vote. FLYNN informed the Russian

                       Ambassador about the incoming administration’s opposition to the

                       resolution, and requested that Russia vote against or delay the resolution.

               d.      On or about December 23, 2016, FLYNN again spoke with the Russian

                       Ambassador, who informed FLYNN that if it came to a vote Russia would

                       not prevent the vote from occurringvote against the resolution.

       Other False Statements Regarding FLYNN’s Contacts with Foreign Governments

       5.      On March 7, 2017, FLYNN filed multiple documents with the Department of

Justice pursuant to the Foreign Agents Registration Act (“FARA”) pertaining to a project

performed by him and his company, the Flynn Intel Group, Inc. (“FIG”), for the principal benefit

of the Republic of Turkey (“Turkey project”). The project was initiated by a Turkish national

who owned a Dutch company (“Company A”). In the FARA filings, FLYNN made materially

the following false statements and omissions, including by: (i) falsely stating that (a) FLYNN

FIG did not know whether or the extent to which the Republic of Turkey was involved with

FIG’s retention infor the Turkey project,; (b) (ii) for the purposes of the Turkey project,

Company A was not supervised or directed by a foreign government; (iii) Company A engaged

FIG on the Turkey project in support of Company A’s consulting work for a company in Israel;

(iv) the Turkey project was focused on improving U.S. business organizations’ confidence

regarding doing business in Turkey,; and (c) (v) on his own initiative, FLYNN published an op-



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ed by FLYNNpertaining to Turkeypublished in The Hill on November 8, 2016, was written at his

own initiative; and by omitting that officials from the Republic of Turkey provided supervision

and direction over the Turkey project. ; and (vi) FIG paid Company A $80,000 as “Consultancy”

fees. In truth and in fact, however, FLYNN then and there knew the following:

       a.     The Government of Turkey was directly involved in FIG’s retention on the            Formatted: Indent: Left: 0", First line: 0.5"


Turkey project;

       b.     The Government of Turkey supervised and directed the Turkey project;

       c.     The Turkey project was not in support of Company A’s consulting work for an

Israeli company;

       d.     The Turkey project was not focused on improving U.S. business organizations’

confidence regarding doing business in Turkey;

       e.     FLYNN published the November 8, 2016 op-ed in support of the project; and

       f.5.   The $80,000 FIG paid to Company A was not for consulting fees.




                                                     ROBERT S. MUELLER, III
                                                     Special Counsel

                                            By:      ____________________________
                                                     Brandon L. Van Grack
                                                     Zainab N. Ahmad
                                                     Senior Assistant Special Counsels
                                                     The Special Counsel’s Office




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                                DEFENDANT’S ACCEPTANCE

        The preceding statement is a summary, made for the purpose of providing the Court with
a factual basis for my guilty plea to the charge against me. It does not include all of the facts
known to me regarding this offense. I make this statement knowingly and voluntarily and
because I am, in fact, guilty of the crime charged. No threats have been made to me nor am I
under the influence of anything that could impede my ability to understand this Statement of the
Offense fully.

        I have read every word of this Statement of the Offense, or have had it read to me.
Pursuant to Federal Rule of Criminal Procedure 11, after consulting with my attorneys, I agree
and stipulate to this Statement of the Offense, and declare under penalty of perjury that it is true
and correct.



Date:__________________                ______________________________
                                       Michael T. Flynn
                                       Defendant


                             ATTORNEYS’ ACKNOWLEDGMENT

       I have read this Statement of the Offense, and have reviewed it with my client fully. I
concur in my client’s desire to adopt and stipulate to this Statement of the Offense as true and
accurate.




Date:                                  ________________________________
                                       Robert K. Kelner
                                       Attorney for Defendant


                                       ________________________________
                                       Stephen P. Anthony
                                       Attorneys for Defendant




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